Case 2:04-CV-02444-SHI\/|-tmp Document 31 Filed 08/19/05 Page 1 of 2 Page|D 23

 

IN rFHE UNITED sTATEs DISTRICT coURT F"-ED B"' -~ D-C-
FOR THE wEsTERN DISTRICT OF TENNESSEE
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UOM.AS M,GOULD
RODNEY GooL, ET AL., CLERK,U..S‘£}ETHH]TOOUHT
W-’D GF iii fi€EF¢‘=-'PH:'S
Plaintiffs,
vs. No. 04-2444-Map

JIM KERAS NISSAN, INC., ET AL.,

Defendants.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the plaintiffs' August 5, 2005,
unopposed motion requesting an extension of time Within which to
file a response to the defendants' motions for summary judgment.
For good cause shown, the motion is granted. The plaintiffs
shall have additional time to and including August 15, 2005,
within which to file a response.

lt is so ORDERED this /SKday of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02444 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

Dwight G. McQuirter

DWIGHT G. l\/ICQUIRTER7 PLLC

P.O. BOX 243
Spring Hill, TN 37174

Charles W. Cavagnaro
BOWLING & BOWLING
7936 Players Forest Dr.
i\/lemphis7 TN 38119

W. Kerby Bowling
BOWLING & BOWLING
7936 Players Forest Dr.
i\/lemphis7 TN 38119

Honorable Samuel Mays
US DISTRICT COURT

